                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

GRAMERCY INSURANCE COMPANY                   )
5000 Quorum Drive, Suite 111                 )
Dallas, TX 75254                             )       Civil Action No. 3:12-CV-0509
                                             )
        Plaintiff,                           )       JUDGE HAYNES/BRYANT
                                             )
v.                                           )
                                             )
EXPEDITOR’S EXPRESS, INC.                    )
P.O. Box 79                                  )
Madison, TN 37116                            )
                                             )
and                                          )
                                             )
JOHN TULLIS                                  )
616 Kinsey Boulevard                         )
Madison, TN 37115                            )
                                             )
and                                          )
                                             )
WILLIAM LITTLEFIELD                          )
d/b/a LITTLEFIELD BROTHERS,                  )
a sole proprietorship                        )
242 West Main Street, #387                   )
Hendersonville, TN 37075                     )
                                             )
and                                          )
                                             )
SHIRLEY A. BROWN, Administrator of           )
Estate of DONALD D. UNDERWOOD                )
169 N. Imperial Drive                        )
Denison, TX 75020                            )
                                             )
        Defendants.                          )


                               STIPULATION OF DISMISSAL


        Pursuant to Rule 41(a)(1)(A)(ii), Plaintiff hereby dismisses this action by submitting this

Stipulation of Dismissal signed by all parties who have appeared. It is agreed the dismissal will




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be with prejudice. Taxation of costs, including attorney fees, is specifically waived by the

parties.


           LEITNER, WILLIAMS, DOOLEY
           & NAPOLITAN, PLLC


BY:        /s/ Steven W. Keyt______________________
           Steven W. Keyt, BPR #009200
           Attorney for Plaintiff
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           (423) 265-0214
           (423) 266-5490 (Facsimile)


           GRACE E. DANIELL, P.C.


BY:        /s/ Grace E. Daniell______________________
           Grace E. Daniell, BPR #012045
           620 Lindsay Street, Suite 210
           Chattanooga, TN 37403
           (423) 266-3179
           (423) 634-8991 (Facsimile)


                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 4, 2015, a copy of this Stipulation of Dismissal was
served by U.S. Mail on the following:


           William Littlefield
           242 West Main Street, #387
           Hendersonville, TN 37075

           John Tullis
           616 Kinsey Blvd.
           Madison, TN 37115



                                            BY: /s/ Steven W. Keyt_____________________
                                                Steven W. Keyt


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